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                                                                                           FILED
                                                                                           CLERK
                                                                               12:17 pm, Nov 06, 2023
                               UNITED STATES DISTRICT COURT
                                                                                   U.S. DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK
                                                                              EASTERN DISTRICT OF NEW YORK
                                                                                   LONG ISLAND OFFICE
  SUPPLEMENT MANUFACTURING
  PARTNER, INC. d/b/a SMP NUTRA,                      Civil Action No. 2:23-cv-06585-JMA-AYS

                                Plaintiff,

  v.
                                                      CONSENT ORDER
  WILLIAM CARTWRIGHT,

                                Defendant.


        1.      WHEREAS, Plaintiff, SUPPLEMENT MANUFACTURING PARTNER, INC.

 d/b/a SMP NUTRA (“SMP Nutra”) commenced this action by complaint filed September 1, 2023

 (ECF No. 1) against William Cartwright (“Cartwright”);

        2.      WHEREAS, the time for Cartwright to answer or otherwise respond to the

 Complaint has been extended, and Cartwright has not yet filed an answer, counterclaim, or motion

 addressed to the Complaint;

        3.      WHEREAS, the Court granted an ex parte temporary restraining order on

 September 6, 2023 (ECF No. 10) (the “TRO”), which the Court has extended and which remains

 in place as of today;

        4.      WHEREAS, the parties seek to resolve any claims they may have against each other

 without the expense, delays, risks, and uncertainties of litigation. By entering into this Consent

 Order, Cartwright does not admit the truth of any allegations made against him by SMP Nutra in

 the Complaint; and

        5.      WHEREAS, the parties consent to the entry of this Consent Decree;

        WHEREFORE, it is ORDERED, ADJUDGED, and DECREED:




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        6.        The Complaint is dismissed with prejudice as to Claims 1 and 2 and dismissed

 without prejudice as to Claims 3 and 4;

        7.        To the extent not already completed, Cartwright shall:

                  a. Grant access to SMP Nutra the <smpnutra.com> Office Exchange 365 account,

                     the <smpnutra.com> domain name, the <smpnutra.com> website, and makes

                     available all passwords for SMP Nutra accounts including, but not limited to,

                     the HubSpot account; and

                  b. Restore and/or transfer exclusive control over all of the items in section (a)

                     above to SMP Nutra.

                  c. SMP Nutra’s exclusive control over all of the items in section (a) above shall

                     be permanent;

        8.        Unless otherwise authorized by SMP Nutra, Cartwright, his agents, officers, and

 employees, and all other persons and entities in active concert or participation with him, are

 enjoined from:

                  a. Accessing, searching, disclosing, copying, or otherwise converting SMP

                     Nutra’s electronic files except as provided to Cartwright, his agents, officers, or

                     employees in connection with alternative dispute resolution between the parties

                     (and in such case only in connection with said alternative dispute resolution);

                  b. Engaging in any activity that uses SMP Nutra’s proprietary data that was

                     created on or after the formation of SMP Nutra, including but not limited to

                     customer lists, vendor lists, and pricing models; and




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                c. Denying SMP Nutra access to the <smpnutra.com> Office Exchange 365 email

                    accounts, the <smpnutra.com> domain name, the <smpnutra.com> website,

                    SMP Nutra’s Hubspot account, or any other SMP Nutra accounts;

        9.      So long as Cartwright is in compliance with Sections 7 and 8 herein, SMP Nutra

 will not assert any cause of action against Cartwright arising from or related to breach of fiduciary

 duty for any conduct arising after October 4, 2023; and

        10.     The Court shall retain jurisdiction to enforce this Consent Order.


    Dated: Central Islip, NY
           November 6, 2023                    SO ORDERED

                                                      /s/ JMA
                                               Hon. Joan M. Azrack, U.S.D.J.




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